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UNITED sTATEs DISTRICT CoURT 92 mg 5 PM 32 52
FoR THE WESTERN DISTRICT oF NoRTH CARoLiNA

CHARLOTTE DivisloN U.S 131' ` 113 q 1113 §§33(}3 133
Civil Action No. 3:01 CV 427 - MU W 33353 1. .1. :H

KENNETH D. STEWART, )
)

Plaimiff, )

)

v. )
)

DUKE ENERGY CoRP., f/l</a )
DUKE PoWER Co., ana DUKE )
ENGINEERING sERvICEs, INC. )
)

Defendant. )

)

 

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FOR GOOD CAUSE SHOWN, the Court grants the Motion to Withdraw of 'l`odd
W. Cline, and the law firm of Donaldson & Black, P.A.

IT IS THEREFORE ORDERED that 'l`odd W. Cline, and the law firm of
Donaldson & Black, P.A. are permitted to Withdraw as attorney of record for Kenneth
Stewart, in the above-captioned matter, and that Mr. Stewart, unless he retains new

counsel, will be required to comply with all orders and rules of this Court.

So Ordered this @:Z/ day of !;br ,.2002

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Case 3:Ol-Cv-OO427-GC|\/| Document 12 Filed 02/06/02 Page 1 015

 

 

 

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTI-I CAROLINA
CHARLOTTE DIVISION
Civil Action No. 3:()1 CV 427 - MU

KENNETI-I D. STEWART,
Plaintiff,

v.

DUKE ENERGY CORP., f/k/a

DUKE POWER CO., a.nd DUKE
ENGINEERING SERVICES, INC.

Defenda;nt.
NOTICE OF ADDRESS FOR KENNETH STEWART
COMES NOW Todd W. Cline, and the law firm cf Donaldson & Black, P.A. and
inform the Court that the last known address for Kenneth Stewart is:
Mr. Kenneth D. Stewart
4443 Greenfield Court
Maiden, NC 28650

This the 4th day of February, 2002.

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\g)( j \_¢; Yr/M)/zf-z' Va'n__

Todd W. Cli

FOR THE FIRM:
DONALDSON & BLACK, P.A.
208 West Wendover Avenue
Greensboro, NC 27401

(336) 273-3812

Case 3:Ol-Cv-OO427-GC|\/| Document 12 Filed 02/06/02 Page 2 of 5

 

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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION
Civil Action No. 3:01 CV 427 - MU

KENNETH D. STEWART,

Plaintiff,

V.

DUKE ENERGY CORP., Uk/a
DUKE POWER CO., and DUKE
ENGINEERING SERVICES, [NC.

Defendant.

 

WRITTEN CONSENT TO WITHDRAWAL

l have been informed of the desire of Todd W. Cline and Donaldson & Black,
P.A. to Withdraw as my counsel in this case. l consent to this Withdrawal and
acknowledge that until l retain alternate counsel, l Will be required to comply With the

Federal Rules of Civil Procedure and the Rules of this Court.

Dated this BQ“H*day of §~»Mmj ,2002.
w n`/M

Ken`neth Stewart

Case 3:Ol-cv-OO427-GC|\/| Document 12 Filed 02/06/02 Page 3 of 5

 

United States District Court

for the

Weetern DiStrict Of North Carolina
February 6, 2002

* * MAILING CERTIFICATE OF CLERK * *

Re: 3:01-Cv-00427

pab

True and Correct copies Of the attached Were mailed by the Clerk to the

following:

Todd W. Cline, Eeq.
Donaldeon & Black, P.A.
208 Weet Wendover
Greenebore, NC 27401

John J. Doyle Jr., Eeq.

Constangy, Brooks & Smith, LLC

100 North Cherry St.
Suite 300 Century Plaza

WinetOn-Salem, NC 27101

Jill S. COX, Eeq.

Constangyr Brooks & Smith, LLC

100 North Cherry St.
Suite 300 Century Plaza

WinetOn-Salem, NC 27101

Cc:

Judge

Magietrate Judge
U.S. Marehal
Probation

U.S. Attorney
Atty. for Deft.
Defendant

Warden

Bureau cf Prieons
Conrt Reporter
Courtroom Deputy
Orig~SeCurity
Bankruptcy Clerk'e OfC.
Other

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Date:

Frank G.

BY:

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Clerk

Case 3:01-cv-OO427-GC|\/| Document 12 Filed 02/06/02 Page 4 of 5

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hew
United Statee District Court
for the
Weetern Dietrict of North Carolina
February 7, 2002

* * MAILING CERTIFICATE OF CLERK * *

Re: 3:01-cv-00427

True and correct copies of the attached were mailed by the clerk to the
following:

Kenneth D. Stewart
4443 Greenfield Ct.
Maiden, NC 28650

cc:

Judge

Magietrate Judge
U.S. Marshal
Probation

U.S. Attorney
Atty. for Deft.
Defendant

Warden

Bureau of Prieone
Court Reporter
Courtroom Deputy
Orig-Security
Bankruptcy Clerk'S Ofc.
Other

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Frank G. Johne, Clerk

Date:eE~é"O)-/ By:

Deputy C er

Case 3:01-cv-OO427-GC|\/| Document 12 Filed 02/06/02 Page 5 of 5

